

People v Whittle (2025 NY Slip Op 02613)





People v Whittle


2025 NY Slip Op 02613


Decided on April 30, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 30, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

ANGELA G. IANNACCI, J.P.
CHERYL E. CHAMBERS
WILLIAM G. FORD
JANICE A. TAYLOR
JAMES P. MCCORMACK, JJ.


2024-02767
 (Ind. No. 70919/23)

[*1]The People of the State of New York, respondent,
vBryan Whittle, appellant.


Mintz Law PLLC, New York, NY (Marshall A. Mintz of counsel), for appellant.
Anthony P. Parisi, District Attorney, Poughkeepsie, NY (Kirsten A. Rappleyea of counsel), for respondent.



DECISION &amp; ORDER
Appeal by the defendant, as limited by his motion, from a sentence of the County Court, Dutchess County (Edward T. McLoughlin, J.), imposed April 1, 2024, upon his plea of guilty, on the ground that the sentence was excessive.
ORDERED that the sentence is affirmed.
Contrary to the defendant's contention, the record demonstrates that he knowingly, voluntarily, and intelligently waived his right to appeal (see People v Thomas, 34 NY3d 545; People v Lopez, 6 NY3d 248). The defendant's valid waiver of his right to appeal precludes appellate review of his contention that the sentence imposed was excessive (see People v Lopez, 6 NY3d at 255).
The People's remaining contention is without merit.
IANNACCI, J.P., CHAMBERS, FORD, TAYLOR and MCCORMACK, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








